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 5   Attorneys for Defendant
     COUNTY OF MARIN
 6

 7
                                     UNITED ST ATES DISTRICT COURT
 8
                                   NORTHERN DISTRICT OF CALIFORNIA
 9

10
11   SEAPLANE ADVENTURES, LLC, a California                   Case No.: 20-cv-06222-WHA
     Limited Liability Company
12                                                            DECLARATION OF LEGAL SECRETARY
                                                              RACHAEL PORTER IN SUPPORT OF
13                  Plaintiff,                                DEFENDANT COUNTY OF MARIN'S
                                                              MOTION FOR SUMMARY JUDGMENT
14          V.
                                                              Complaint filed: September 2, 2020
15   COUNTY OF MARIN, CALIFORNIA; AND
     DOES 1 THROUGH 10, Inclusive,                            Date:       October 7, 2021
16                                                            Time:       8:00 AM
                                                              Judge:      Honorable William Alsup
17                  Defendant.                                Dept:       Courtroom 12, 19th Floor

18
19
20          I, RACHAEL PORTER, declare as follows :
21           1.     I am a Legal Secretary in the Office of the County Counsel, attorneys of record for
22   Defendant County of Marin ("County"). I submit this declaration in support of County ' s motion for

23   summary judgment. I have personal knowledge of the contents of this declaration, except as to any

24   matters stated on information and belief, and as to those matters, I am informed and believe them to be
25   true. If called as a witness, I could and would competently testify to the matters set forth in this

26   declaration.
27           2.     I have assisted attorney Brandon W. Halter in connection with his representation of
28   County in this matter. At Mr. Halter' s direction, I downloaded video files from a link that Mr. Halter

        DECLARATION OF LEGAL SECRETARY RACHAEL PORTER IN SUPPORT OF DEFENDANT COUNTY OF
                             MARIN ' S MOTION FOR SUMMARY JUDGMENT
                                    US DC Case No . 20-cv-06222-WHA
     and I received from the Marin County Sheriffs Office that I understand are related to this case. Also at

 2   Mr. Halter' s direction, I sent the video files that I downloaded from the link sent by the Sheriffs Office

 3   to Plaintiff in this case, along with other documents in County ' s production of documents in this case.

 4   Separately, I also sent two of these video files, produced to Plaintiff with filenames "Adv.mp4" and

 5   "Misc_Advisement.mp4," to Cal-Pacific Reporting, Inc., and asked that they be transcribed by a

 6   certified court reporter. Cal-Pacific Reporting, Inc. later sent me back transcripts of these two files . A

 7   true and correct copy of the transcript of "Adv .mp4" is attached hereto as Exhibit 15. A true and

 8   correct copy of the transcript of "Misc_Advisement.mpf' is attached hereto as Exhibit 16. I also

 9   recently sent these same two video files to Deputy Robert Heilman, for his review in connection with
10   this motion.

11            I declare under penalty of perjury under the laws of the State of California that the foregoing is
12   true and accurate to the best of my knowledge
13          Executed on August 2 7, 2021 , in San Rafael, California.

14

15                                                        By: ~                  - - -
                                                                    Rachael Porter
16

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        DECLARATION OF LEGAL SECRETARY RACHAEL PORTER IN SUPPORT OF DEFENDANT COUNTY OF
                             MARIN ' S MOTION FOR SUMMARY JUDGMENT
                                    USDC Case No . 20-cv-06222-WHA
EXHIBIT 15
                    ....
                  1111111111
                  1111111111   ·
                               .. -

               CAL-PACIFIC
            REPORTING, INC.



     Certified Transcript of Video Recording of:
   Body-Worn Camera Footage - Adv.mp4
                (July 2, 2020)
               Transcribed: July 29, 2021

Case: Seaplane Adventures, LLC v. County of Marin
              Case No. 20-cv-06222-WHA

                Reporter: Michelle Barbante, CSR 12601
                                               45 Mitchell Blvd., Suite 12
                                                  San Rafael, CA 94903
                                                 Phone: 415.578.2480
                                                    Fax: 415.952.9451
                                 Email: support@calpacificreporting.com




                                                       COM008408
Seapl ane Adventures , LLC v. County of Man.n                                       Video of: Body-Worn Camera Footage - Adv.mp4         ( July 2, 2020)
Case No . 20-cv-06222-WHA                                                                                                 Transc r ibed : July 29 , 2021



                                                              Page 1                                                                           Page 3
             SEAPLANE ADVENTURES, LLC, COUNTY OF MARIN                                                DEPUTY SCH LI EF: Do you run the bus iness as
                 Body-worn camera footage                                                    well 9
                    Ad, .mp4                                                                        MR. CA RTE R: No. Just the pilot.
                                                                                                    DEP UTY SCHLIEF: Okay. So " i th the all the
                                                                                             COV ID-1 9 ordinances in the county- -
                  Case No. 20-n-06222-WH A                                                          MR. CARTER: Oka,·.
                     .July 2, 2020                                                                  DEP LJrY SCHLI EF: -- the -- the tour are
                                                                                             against the ordi nance.
                                                                                                    MR. ARTER: Okay.
                                                                                                    DEP TY SCHLJEF: And if you continue to log
                                                                                             nights. with passengers ob\'iously. you will be in
         TRANSCR.IBED BY
                                                                                             violation of the ordinance. which is about $ 1.000 fine.
         MICHELLE D. BARBANTE, CSR NO 12601
                                                                                                    MR. CA RTE R: Okay.
                                                                                                    DEPUTY SCHLIEF: And you can be issued a
                                                                                             citation for every single night that you conduct.
                                                                                                    MR. CA RTER: Oka~.
                                                                                                    DEPUTY SCHLIEF: I don't know ho,, much -- if
                                                                                   :e        , ou've been warned of that yet or not.
                                                                                                    MR. CARTER: Okay.
                                                                                                    DEPUTY SCH LIEF: Air -- Aaron has. and that's
                    CAL-PACIFIC REPORT ING                                                   wh\' we're here. j ust to talk to him again. mak e sure he
                45  Mnchell Boule, ard. Suite 12                                             understands.
                 Sa n Rafael. Cal 1fom1a 94903                                                      MR. CARTE R: Okav.
                     (415 ) 578-2480                                                                DEPUTY SCHLIEF: Do you know when he's
                Suppon@CaIPac,ficReponmg.com                                                 tvpically in 9


                                                              Page 2                                                                          Pa ge 4
                            -oOo-                                                                  MR. CARTER. No. Two separate compa111es.
                FEMALE VO ICE: Right about now.                                                    DEPUTY SCH LIEF Yeah
                MR. CARTER: You know. and that's what she was                                      MR CA RTER. So I - I don't track h,m
          saving. Mine probably just hasn't updated. but -- mine                                   DEP TY SCH LIEF: Oka) .
          hasn't updated. But let me cal l vou right back. all                                     DEPUTY HEILMA             Let's not -- let's not worry
          right? Okay. I'll call yo u back. All right.                                      about the Seaplane pan Let's talk about the -- the
                He). Phil 9 PhiJ? PhiJ? He,·. Phil. let me                                  helicopter pan
          call you back. Oka~ All right. Bye.                                                      DEPUTY SCHLJ EF Yeah
                DEPUTY CHLI EF: Are you Aaron9                                                     MR CA RTER: Okay So. uh. veah. l'm1us1 the
                MR. CA RTER: I'm sorry9                                                     pilot. so an I give vou mforma11on that you can pass
                DEPUTY SCHLIEF: Are you Aaron 9                                             on to the owners. or ho11 do you want 10 --
                MR. CARTER: No.                                                                    S ERG EAJ,ff GA RREn -· It's -- it's difficult to
                DEP TY SCH LIEF: Is Aaron -- i Aaron here.                                  even sa~. you kno11 ll1e Jaw on it. n's pretty
          Aaron Singer9                                                        I   :i;      confusing for us We JUSt got a five-page
                MR. CA RTER: No. They're with the Seaplane.                                 d1ssenat1on --
          though.                                                                                  MR CA RTER All right
                DEPUTY HEILMA N: Are vou th heli copter pilot 9                                    SERGEANT GARRETT - from coun~ counsel about
                MR CA RTER: Yeal1.                                                          IL nght 9

                DEPUTY SCH LIEF: Oka, . So " e're going to talk                                    MR CA RTER Oka)
          to Aaron about a matter. but we'll talk wi th -- to you                                  SERGEANT GARRETT And 111 reading that. 1t 1s a
          as well --                                                                        Imlc bn difficult fo r us 10 folio"
                                                                              J                    MR. CARTER. Oka)
                MR. CA RTER : Oka~                                             I

                DEPUTY SCHLJEF: -- with the hell -- are you                                        SERGEANT GARREn· I cannot sa) that you. as
          the pilot or are you --                                                  '4       the pilot. wouldn't be cncd over -- ll'hoevcr's wnh the
                MR. CARTER : Yeal1. I'm the pilot.                                          aircraft 1s the person that' going to be cned


                                                                                                                       1 ( Pages 1 to 4)
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Case No. 20 -cv -06222-WHA                                                                                               Transcribed : July 29 , 2021



                                                              Page 5                                                                         Page 7
                MR. CARTER· Right.                                                         And I'm not saying that we agree or disagree with thi
                  ER GEA T GARRETT. So -- but 1f you look at                               thing at all. I'm j ust telling that we're being told to
          what the) declare essenual travel versus not. it's --                    3       do this.
          11' not the clearest thing I've ever read ,n my life.                                  D - PUTY S HLIEF: Yeah. right.
                MR. CA RTER· Right And we checked wi th the                                      MR. CARTER: Right. Okay.
          FAA. and we got a green light from them                                                  ERGEANT GA RRETT So --
                  ERG EA NT GA RR ETT: ll1e problem is. 1s that the                              MR. CA RTER: So what -- what I'd like from
    E     FAA and the county are two different things. The count)                  8       you -- I hear you loud and clear.
    9     sent out violauon of the heal th order 11self.                           9             DEPUTY 1-IEILMA 1: Yeah. Yeah. I mean --
   JC            MR CA RTER: I understand I understand                                           MR. CA RTER: What I'd like from you is when you
                 SERGEA T GARRETT: And you've got to understand                            say. "You'll get cited" where -- you knO\\. under what
   :2     that this 1s not our idea b) a long shot                                         authority is that? I mean --
                 MR CA RTER I understand                                                         SERGEANT GARRETT: Well. you get a ticket. It
                 SERGEANT GA RR ETT: But they are directing us.                            looks like a speeding ti cket. all right ?
          because of all the complaints. that we are to cJte for                                 MR. CARTER: Okay.
          ever) revol uuon. every cycle --                                                       SERGEANT GARRETT: And it will have a court
                 MR CARTER Right                                                           date on it. and it will have a Health and Safety Code --
                 SERGEA IT GA RR ETT You knO\, . and thev're grnng                               MR. CARTER: Okay.
   19     to cite whosever wnh the ai rcraft                                                     SERGEANT GA RR ETT: -- you ki10 \\ . code on.
  20             MR CARTER· Right. Okay. Um. yeah. we got an                                     MR. CARTER: So and then -- and does that go to
          email from the guy over there at StrawberT) Poi nt                               the company or to me?
          ll1at's probablv where you guys got it from . but. um --                               SERG EANT GAR RETT: Well. the~ can't ci te a
                 SERGEANT GA RREn·: Well. we got an email from                             company. ll1ey would ci te vou with the aircraft for
          count)· counsel and from --                                                      being in violation of that health ordinance.
                 MR. CA RTER. Yeah. that's --                                                    MR . CA RTER: Oka~ . So let's -- let's do this


                                                              Page 6                                                                         Page 8
                 SERG EANT GAR RElT: -- our boss                                          here
                 MR CARTER: -- that's where -- he -- he' been                                    DEPUTY HEILMAN . We're trving 10 head it off at
          a. I guess. a constant complainer --                                            the pass. We're tr)'mg to work " ·ith you and --
                 SERG EANT GARR ETT And that -- yeah                                             DEPUTY SCHLIEF Yeah.
                 MR . CARTER : -- beyond -- outside of the -- the                               SERGEA rr GA RRETT: You know. and I'm not saying
          COV ID. Um. SOJT)'. I will -- I will pass this on to the                        that If you were to take this to coun that you wouldn't
          om,ers. and --                                                                  wm I - I don't -- I don't real I) kno" But I'm _1ust
                 DEPUTY HEILMAN · Do you have an) nights                                  tell mg you that we're bei ng orde red to do this
          scheduled today?                                                                       DEPUTY HEILMAN And if you had. too. some type
                 MR . CA RTE R· Um. I may at 3·00 o'clock                                 of recourse where you decided to go after th rough the
                 DEPUTY HEILMAN . And are yo u nying omewhere                             count} . count) counsel. for making us tell vou to stop
          and coming back \\'Ith those same people?                                       and stay. the whole thing' a big me s. and " ·e're trYmg
                 MR. CARTER Yes.                                                          to head it off --
                 DEPUTY HEILMAN .lust to let you kno\\ that.                                    MR CARTER Yeah
          even though we don't want to. that if that does happen.                                DEP Y HEILMA -- at the pass nm,
          you "~I I be ci ted                                                                    MR CA RTER: Okay.
                 MR CARTER: Okay. All right. Can -- I                                           SERGEANT GARRETT: o. I mean. 1f you - 1fyou
          mean --                                                                         thmk you're lcgall~ allowed to do this b, FAA. I thi nk
                SERGEANT GARR ETT And this doesn't mean we                                you're probably right.
          don't -- JUSt so we're reall y clea r here. so. I mean. I                             MR CA RTER Wel l. before -- before we
          don't kno\\ 1f you got a speeding ticket. but when you                          staned--
          get a speeding ucket on the road. you're not                                           DEPUTY HEILMAN : Yeah.
          automaticall) guil t) . You get your da) in coun                                      MR. CARTER. -- becau e the FAA 1s who we're
                MR CA RTER Yeah                                                           governed by. and that's the higher auth onry of any
                SERGEANT GARRETT. You would wnh thi s as well                             local. but -


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                                                              Page 9                                                                     Page 11
                 SERGEANT GA RRETT: Of aviation. sure.                                         MR. CARTE R: -- we tell them. You know. the
                  MR. ARTER: Right. Okay.                                                people today. thi morning. I ne" at 10:00. the/re all
                 SERGEANT GARRETr: They're talking about thi s                           one famil). the) 100k pictures. the whole nine yards.
           basica lly having people sitting next to each other in                              SERGEANT GARRETT: Yeah.
           an -- in an enclosed place.                                                         MR. CARTER : So anyway. let me do thi s here.
                  MR. CA RTER : Oka~ .                                                         SERGEA 'T GA RRETT: If you wanted a ponal int o
                  DEPUTY HEILMAN: Like a Bell helicopter.                                the peo ple that we deal wi th. you and I can exchange
     8            MR. CA RTER: Right. But what we're doing it                            emails --
     9     like families. so. like there's fo ur --                                              MR. CARTE R: Oka~.
                 SE RG EANT GA RR ETT: Well. that's a good --                                    SERG EANT GA RRETT: -- and I can help you with
           that' a good argument.                                                        that.
                  MR. CARTER: You know.                                                          MR. CA RT ER : He). Jeff. Oka~ . 111. yo u have a
                 SERGEANT GARRETT: I think that 's a reasonable                          minute 9 Um. so I've -- I have three Marin Co unty
  14       argument.                                                                     Sheriffs here. And o there' a concern/discussion
                 MR. CARTER: And nobod)'S up fi-om with me.                              about our operation and the Seaplane's operation. and
   ::. E         SERGEANT GA RRETI: Or someone could be your                             so. at an) rate. it -- you kno,\ . the long and shon is
  17       tmcle.                                                                        that if we continue 10 -- to ny. I ,, ould be issued a
  16              MR. CARTER: o -- so and it's --                                        ci tation.
                  SERG EANT GARRETI: I mean. yo u kno" .                                         So a co upl e options here. If yo u can -- we're
  .20             MR. CARTER: -- so that's that. And we tell                     ~o      goi ng 10 put you on speakerphone. and the) can explain
           the people. even when they book. that that's our                              what th e issue i . You can talk 10 -- the~ could -- we
           cri teria and --                                                              could exchange emails. but they're all here with guns.
                  SERGEANT GARRETI: That's a prett, good                                 so --
           argrnnent.                                                                            SE RGEANT GAR RETT: Well. they' re holstered .
                  MR. ROWE: -- we do sanitation. we di sinfect.                                  MR. CARTE R: Guns and rines.


                                                            Page 10                                                                      Page 12
           and so I would normall) have a mask on here. but I "as                              SERGEANT GARRETT: Are you leaving a voice
           eati ng my lunch. so --                                                       mail. or are you talk ing to him9
                   DEPUTY SCHLIEF: No worries.                                                 MR. CARTER Correct Correct Correct
                   MR . CARTER: -- so anyway that 's -- that's what                            DEP UTY SC HLI EF All right.
           we're doing --                                                                      DEP UTY HEILMA           Oh. he's talking 10 someone
                   DEPUTY SCHLIEF: Yeah.                                                       DEPUTY SCH LIEF: Yeah.
                   MR . CA RTER: -- and so when we talked about                                 1R. CARTER You want me 10 put them on the
           that. the analysis was. oka~. so if -- if th e) kno" each                     speakerphone and the) can kmd of g" e you kind a
           other a a famil). the) came out of the same car.                              thumbnail sketch of what they're here to cnforce0 Oka,
           they're in the ame household. So but at an) rate.                             Hang on.
           that 's -- that 's above 111) pa~ grade. I'm not going 10                           He) . Jeff'
           argue that point. so --                                                             MR ROWE. Hey
                   SE RGE NT GARRETT: Do you kno" if he's trying                               MR CARTER Oka, So I have Officers Garrell
           to do that. 100 9                                                             "Sh-l,f' 9
                   MR. CARTER: Aaron9                                                          DEPUTY HE ILMAN "S h-l ife"
                 SERGEANT GARRETT: Yeah.                                                       MR CARTER . Schl,efand Hedman here So thi s
                 MR. CA RTER: o idea. No idea.                                          ,s Jeff Rowe He's !TI) boss
                 SERGEANT GARRETT: I mean. that 's a prert~                                   SERGEANT GARRETT: Oka)
  ·c.      reasonabl e argument.                                                               MR CARTER . You kno,,. manager
                 MR . CA RTER: Right.                                                         SERGEANT GARRETT: H, Jeff M) -- m) name ,s
                 SERGEA 1T GARRETT: I think if- - ifl were in                           Greg Garrell I'm the supef\·1sor with the Sheriffs
           your shoes. that woul d probabl) be the one I " ou ld use.                   Office We were directed this morning to come here b)
                 MR. CARTE R: Well. that 's what we do here.                            our boss and b) the count) coun sel over numerous
           That's what --                                                               complaints. mostly dealmg with the Seaplane
                 SERGEANT GARRETT: Yeah. I mean that's --                               They've -- the) 'vea lread) warned the Seaplane owner and


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                                                          Page 13                                                                       Page 15
            been going back and fortJ1 wi th him. We haven't talked                    to the owners with -- with some. you know. reason
            to -- to your guy yeL but we were told to -- to                           about -- reasonal ity here. what is the cna11on9 Is
    3      ba ically warn them that they could be potentially cited                   there -- what 1s the c1 ta11on for 9 Is it just for --
            for every -- for eve1y cycle. for every take off and                               ERG EANT GARRETI Well. there's a --
           landing. if they have -- if they have passengers going                             MR ROWE: -- for viol a11ng the count) order:
           on a touri st rrip.                                                        would that be what -
                     I -- I -- I told your guy here the same thing                           SERGEANT GA RR ETT Yeah. exactly
            I'll tell you is that this was not our idea. I think                             MR. ROWE: -- n is9 Okay. And does that --
           the law is somewhat confusing. Your -- what 's your                        does that carry a nonnal -- a nonn al fi ne. or is that
           name. sir9                                                          :c     Just assessed when you go to coun 9
                     MR. CA RTER: Ron Caner.                                                   ERGEANT GARR ETI: We have never been to coun
                     SERGEA 1T GA RRETf : Ron Caner' argument is                      on this. TI1i 1s new - ne\\ territory for us. but I --
           that -- is that you're basical ly brin ging fan1ilies that                 1do belie ve there is a set fine. and n' around
           are already together in an aircraft and puning them                         $1.000
           together. The) were in a car together when they got                               MR. ROWE. Oh. oka) Oh. ye Just -- oka)
  lt       here. so what -- what difference does it make9 And I --                    That's good .lust so I can list -- let them know. and
  17       I think that's a pretty reasonable argument.                               okay
                     But that being said. the county attorneys have            :6           SERGEA T GA RR En ·: I -- I don't know exactly.
           reviewed thi s at length. and they feel that the -- the             : 9    but that -- that 1s what the)'re telling me Th is is a
           violation of the health order exists and are directing                     ne,, thing for us totally. You knm, . it's not -- it's
           us to enforce it. whether we like it or not.                               not a runn ing-a-stop-sign ucket.
                     MR. ROWE: Okay. And that's the County of                               MR ROWE: Right
           Marin. correct 9                                                                 SERGEA T GARRETI· o that -- that 1s where we
                    SERGEANT GARRETI: Right. And so their --                          stand. I guess Mr Caner here' tell mg that there's
           their argument i . i that if-- if -- if you're taking                      somebod) 111 the neighborhood who is a longtime


                                                          Page 14                                                                      Page 16
           passengers on a tourist trip. you're not. in other                         complamer about the av iation here. and -- and he might
           words . rransponin g them to another locati on. that it's                  be behmd some of th1s I don't kno\\ that's true or
           not essential rravel and th at it's a violation of the                     untrue. I just --
           health order.                                                                     MR. ROWE Right. I believe he -- yeah. I
                  I know you guys have got a green light from th e                    believe he did end an email last week. and he's -- I
           FAA. I understand that. but it is a different thing.                       think we've -- we've been m contact \\1th him over the
           and we are being told that -- that ifwe. vou know.                         many vear . and. vou kn o\\ . we always IT\ to be ve1y
          observe the heli copter to take off and come back. that               E     ne ighbor!) and -- and even wnh everybody over in that
          we are to try and attempt contact ,,i th the pilot                    ~     area. and if there's an issue mth somebod). we tr\'
          basically on the -- on the return and iss ue one of th ese          :c      to -- to. you knO\\. mod1f) things to work it out \\1 th
          ti ckets .                                                          1J      everybody. and --
                  And he would get a court date. and he could --                             SERGEA 1T GA RR ETT. Well. you can't believe ho\\
  :_3     ~'OU guys can go to court and mak e your argument. I                        much time as deput) sheri ffs we spend on -- on -- on
          j ust -- I don't know if that's worth it. but e semiallv                    ne ighborhood disputes over sometimes mmor -- m111 or
          you could get a ticket. lfvou -- if you have                                things as tnmm111g trees or the fence maintenance. you
          seven flights planned thi s weekend. you can get cited                      kll O\\

           for each and eve~ one of them. I don't k.no" that you                              MR. ROWE Actual!) . I could believe that
          wouldn't prevail in court or would prevai l in court.                       That's -- yeah Oh. boy
  -"      I'm not -- I'm not real!v sure. I'm just tellin g vou                               Well. yeah. I kno\\ you guys _1ust ha, e to do --
          that --                                                                     do your jobs. so what I'l l have to do is I'll have to
                  MR. ROWE: So --                                                     get in contact wi th the two owners and expla in all thi s
                  SE RGEANT GA RRETI: -- that's what we're bein g                     to them. and then. you kno\\. In) -- In) - - In) gut thought
          told to do by our bosses. whether we -- we like it or                       1s. 1s that "e'II probabh just most likely cease to do
          not.                                                                        11. but I -- you kno\\. we have to put that 111 their
                  MR. ROW E: Okay. And so j ust so I can explai n                     hands. expl a111 to them D1d -- did -- are the airplane


                                                                                                             4    ( Pag es 13 t o 16 )
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                                                             Page 17                                                                           Page 19
          going to continue to go or are vou --                                                 standards. doing the temperature checks and mask . and
                  ERGEANT GA RRETT: Well. we're going to --                                     so we're -- we're -- yeah. if you get anything -- it
                 MR ROWE - just -                                                       3       does get -- if we end up with a thousand bucks per --
                 SERGEANT GA RR ETT -- give the same -- the same                                per land ing. that completely negates the pro fit.
          warning to Mr 111ger. 11's just that. you kno,, . it is                                      SERGEA IT GA RR ETT: Yeah. no. I'm sure. You
          difficult to enforce We're not going to Sit here and                                  know. but. I mean. if -- if-- I can't say that we wou.ld
          watch all the tim e. but. I mean. you kno\\ . the -- the                              be so perfect in our en forcement. We -- we have other
          night fol lowing on the compu ter is pretty easy to look                              th ings 10 be doing. It's ju t we are being directed.
         up after the fact                                                              9       My -- my -- the captain i two ranks above me i just
  ;o            MR. ROWE Right. Correct.                                              :o        saying. you know. that I'm being told 10 do thi . I --
                SERGEANT GAR RErr· So. you know. and anv police                                 1 don't have the right to refuse really.
         reports that we generate -- and this wou ld be a pol ice                                     MR. ROWE: Right.
         report . So you get a speed111g ticket on the free\\'ll).                                    SERGEANT GARRETT: I have to keep 111) job.
         there's generally not a speedi ng ti cket-· not a report                                     So I think that's about real!,· all I can tell
           o these guys. they'll wrne a report The)' II                                         )OUabout it.
         interv1e\\ whoever the) c11e. If the person agrees to                        :E               MR. ROWE: Okay. Well. thank you. Appreciate
         speak ,,~th them. they' ll interv1e,, any -- any passengers                            it. And we'll j ust -- we' ll go from here. I think we
         that agree to speak w11h them. take their statements.                                  have one more night for todav. so I think we' ll have to
         and also include the night following m the report                                      figure out what we're go ing to do there.
                 o all of that would go to the d istnct                                                So but. yeah. Well. like I say. I will get in
         attorney's office The district attorney's office                                       touch with the two owners. and I'll put thi . you know.
         dec ides whether or not the) want to go to court w11h 11                               in their coun. and then we'll go from there. But --
         or not If they do. then -- then they would sho" up in                                  and ho\\ long -- does thi s -- is tJ1ere a -- do you kno\\
         court and subpoena us and we would 1est1f) 10 what we                                  if there' a speci fi ed an1ow11 of time that this order
  2:,     saw and did. and that would be the end of that. And you                               expires. or is it j ust -- is it j ust. you know. kind of


                                                             Page 18                                                                          Page 20
          guys woul d tell your side. and the j udge woul d hear                               1n 1he w111d 0
          th at. as " el l a ours. and the) dec ide what they want to                                SERGEA 1T GAR RErr: I've not gotten a clear
          do.                                                                                  answer on that.
                  I -- I don't knm, ho" mu ch revenue ) ou have                                       MR ROWE: Okay. Oka) All right) Well.
          planned for the weekend and ho" many fli ght s and ho" big                           thank you , el) much
          a deal it i 10 cancel. Maybe it is a big dea l. and th e                                   SERGEANT GARRETT. All right Thank you for
          los plus. yo u know. peopl e \\ Ou!d be very disappointed.                           be111g understanding.
          so that's the decision you've got 10 make.                                                 MR. ROWE· All right. Take care. guys.
   C              MR . ROWE : Right.                                                                 MR CARTER Oka, Ta lk to you later
                  SE RGEANT GARRETT: But I'm just 1~ ing 10 be as                                    MR. ROWE: Oka) Bye.
          transparent as I possibl) can . That's exact!) ho,, " e                                    DEPUTY HE ILMAN So. you kno11 . we -- we -- you
          would do it. We're not go ing 10 sit here and watch th is                            knO\\. we real!) -- we're in kind of a catch-22 . I mean.
          place. I don't kno,, that. \'Ou kno11 . we wou ld be                                 you guys are ll)'in g to make -- yo u kno11 . make your
           I00 percent successful. but I mean . you knm, . it is                               mone) . do \'Our bus mess. and --
          pretT) obvio us when the hel ico pters come and go.                                        MR CARTER Right.
                  MR. ROWE: Oh. yeah. Yeah. for sure. Well.                                          DEPUTY HEI LMAN -- you kno11. n's not
          no.) ou guys have been ve~ · -- vei, help ful. I                                     some1h111g that we real I) want to do It's kmd of on
          explai ned -- vou kno" .) ou expl ai ned it ve~ well. o                              both sides of 11. but. vou kno\\ --
          th ank you.                                                                 :9             MR CARTER I understand
                  Well. yeah. I mean. you knm, . it's basicall).                                     DEP TY HEILMAN It's J USI a d1fficul1
          vou kno11 . 11 e're just getti ng back into the swi ng of thi s                      s11ua11on So we just kmd of11'l!nt to touch base with
          thing. so like cvei,•bod). we're n111n ing on kind of a                              vou and let you kno11 kind of what's been --
          modified status. Yo u kno\\ . we're runn ing with less                                     MR CARTER : Right.
  _l      passengers. ~ ·ing 10 keep. you kno" . peo ple more                                        DEPUTY HE ILMAN· -- handed down to us
          separated and -- and kin d of adhere 10. you know. the                                     MR CARTER · S01f--1f -- 1f1herewas a


                                                                                                                     5 ( Pages 17 to 20)
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Seaplane Adventures , LLC v. County of Marin                               Video of : Body-Worn Camera Footage - Adv . mp4     (July 2, 2020)
Case No. 20-cv-06222-WHA                                                                                          Transcribed : July 29 , 2021



                                                       Page 21                                                                  Page 23
         charter. someone comes here and the) want to go to                              SERGEANT GARRETT Mm-hm
         Sacramento. that 's not an issue. right 0                                       MR CARTER . -- and -- and the brother-in-Jaw.
    3           SERGEANT GARRETT Well. I mean. so if you read               3     so it's thei r call. but I -- I --
    4    the thing on essential travel. and it -- n's -- I think                         SERGEANT GARRETT The problem with their call
         it's on the county website right no\\ We -- we have a                    is that -- and it so und s like they' re -- he's preny
         wnncn copy of 1t. but --                                                 supportive of you. You're the one that 's writing up a
                MR . CARTER · That would be essential traveJO                     ticket --
                SERGEA T GARRETT: That would be essential                   6            MR CARTER . Well. I was going to a). n's
         travel                                                               9   their call. comma --
                MR CARTER: Right. Right. Okay.                            :o             SERGEANT GARR TT Yeah.
                SERGEANT GARRElT: o. I mean. there's a whole                             MR CARTER . -- it ain't [maudible] baby.
         list of essential travel s But they're just basically            L              SERGEANT GARRETT So --
         saying that to take ofT and land at the same location --                        MR CA RTER : You know. I -- I mean. I Just --
                MR CARTER: Right.                                                 you kno\\. I did 26 years with Oakland -- Oakland Fire.
  i:            SERGEANT GARRETT· -- for sightseeing is not.                      so --
                MR CARTER . Right Yeah                                    1f              SERGEANT GARRETT: Yeah
                SERGEANT GARRETr I get the argument. I mean.                            MR. CARTER. -- I retired as deputy chief. so I
         they're allowing outdoor businesses to operate again             :&      understand the -- the ramifications of--
  19            MR. CARTER : Right.                                       :9            SERGEANT GARRETT: Yeah. Thi 1s not a bad
  ::c           SERGEANT GARRETT: And they' re -- and the                 :o      hnle second job then . huh?
         county counsel's argument 1s that. if you are renting                          MR CARTER . Uh. no. 1o
         kayaks and people are gomg out there kayaking. that                            DEPUTY HE ILMA N: It's -- n's --
         would be different than punmg somebod) in an enclosed                          MR. CARTER : But. you knO\\. I've got a daughter
         space of the -- the Bell helicopter there. so --                         111 medical school. so --
                MR . CARTER. Right.                                                     SERGEANT GARRETT: Yeah.


                                                      Page 22                                                                   Page 24
                 SERGEANT GARRETT: But when -- when -- your                              MR CARTER --you kno\\. n's - it helps.
          argumem as well. if people drove here. get in a car --                  But at 311) rate. no. I -- I understand and appreciate
                 MR. CARTER: That's what they tell me --                          1t. and you guys did a good Job of presenting it. and -
                 SERGEANT GARRETT: -- with their famil~ and --                           SERGEANT GARRETT: Yeah You tell us --
                 MR. CARTER: -- is that would cancel a night                             MR CARTER I heard that. on Aaron's side. I
          because it was vou two and you two.                                     think his kind offoundauon was the vessels You knO\-\.
                 SERGEANT GARRETT Yeah.                                           that the Seaplane 1s technically a vessel.
                 MR. CARTER: You know. and the) sa id. "No. it's                         SERGEAl'.ff GARRElT: It's a ny111g vessel. yeah.
          a famil~ ." My -- it's -- j ust the other day I had two                 oka\'
          adults. two children. all a fan1il).                                           MR. CARTER: But -- but agam. the counter --
                  ERGEANT GARRETT Okay.                                                  SERGEAl\ff GARRETf. Isa,, some of his argwnents.
                 MR. CARTER: Sat in the back and so --                            and the)'re not nd1culous at all.
                 SERGEANT GARRElT: No. I -- I think vour                                 MR CARTER. Yeah. the counter 1s that tna) --
          busines is great. I mean. vou know. I wish I could go.                  that may help \\~ th traveling.
                 DEPUTY SCH LIEF: Yeah.                                                  SERG EANT GARRETT: Yeah
                 MR. CARTER: You should.                                  lE             MR. CARTER- o theilre -- hopeful!) n -- it
                 SERGEANT GARRETT: I used to n, eve~ once in                      all goes awa) As some people 5a). n's _1ust go111g to
          a while with the news helicopters --                                    disappear
                 MR. CARTER: Oh. yeah.                                                   SERGEANT GARRETT Yeah I -- I think this
                SERGEANT GARRETT: -- here would take us on                        is -- unfortunately. we're going to be stuck with
          nights eve~ once in a while. you know. so a long time                   this thing-
          ago. but --                                                                    DEPUTY HEILMAN Do you kno" ,, here they're at
                 MR. CARTER: Okay. Well. again. it 's a -- it's                   toda\'. or if they're going to be around 0
          a husband and wife owner hip. Actual!) . it's Jeffs                            MR CARTER. o. I - I don't lu10" They had
          si ter --                                                               said that they were gomg to be Wednesda~ . Thursday.


                                                                                                       6 ( Pages 21 to 24)
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Case No . 20 -cv- 06222-WHA                                                                                               Tran scr ibed: July 29 , 2021



                                                            Page 25                                                                         Page 27
          Frida) . Saturday. but the) weren't.                                                      MR CARTER : Yeah.
                DEPUTY SCHLIEF: I think --                                                          SERGEANT GARRErr -- the way the neighbor was
                MR. CA RTER: In fact. I had 10 ca ll the -- the                             over it Back and fonh and video cameras and --
          secretar) 10 try 10 get in here because the) changed the                                MR. CA RTER . Right. nght. right.
          lock -- the top ke) worked. but --                                                     SERGEANT GA RR ETT -- over. basically. a
                DEP TY SCHLIEF: What I sa" was --                                           basketball hoop and some parking.
    7           MR . CA RTER: -- the dock or --                                                   MR CA RTER: Yeah Yeah. well. until this 1s
    f           DEP TY HEILMAN : We've been here for alarms all                             cleared. n won't be me. That's all I can say. I mean
          the time.                                                                         if he wants. he's a pilot. he can -- you know. the owner
  :o            DEPUTY SCHLIEF: -- they're open Frida) .                                    can do II and say. "F uck 11. I'l l _1us1 take the dive"
            aturda) . Su nd ay . We' ll have bener luck talking 10                                  SERGEANT GARR ETr: Yeah
          them tomorrm, .                                                                           MR CARTER· But it's not gmng 10 be me. you
                SERGEANT GARRETT: Yeah. we'll come b) in the                                knO\\
          morning. yo u know.                                                                       SERGEANT GARRETf: All nght Well. good
               DEP UTY HEILMA      Well. we do appreciate your                              talking to you
  lE      understandin g.                                                                         DEPUTY HEILMAN All nght
               MR . CART ER: Yeah.                                                                  DEP UTY SCHLIEF: All nght. sir Have a good
               DEP TY HEIL MA i: We're j ust here 10 give yo u                              one
          our side and --                                                                           MR. CARTER Have a good day. Bye no"
                MR . CART R: Sure.                                                                  {End of body-worn camera footage)
                 DEP UTY HEILMAN : -- we -- we totally get your                                                   -oOo-
          side and --
                 MR. CARTE R: Sure. Sure . And I suspect. maybe
          1101 directly 10 yo ur office. but to the co unty co unsel.
          whatever. it 's the gu) at Strawberr) Point. In fact.                            Ill


                                                            Page 26                                                                         Page 28
         the email that he sent us savs. "Yes. vou guvs are                                 StateofCalifomia )
         legal. and I alread) stopped a Seaplane. I'm going to                                                )
   3     stop you " And it doe -- you kno,1. we !ly at a                                    Count, of Sonoma              )
         thousand feet. it's j ust ne,er. It's kmd of. "Oh. I
         hear a helicopter "
                SERG EANT GARREH Oh
                                                                                                       CERTIFI CATE OF REPORTER
               MR . CA RTE R That was CHP And we get -- you
                                                                                              I hereby ceni fy that the foregoing recorded
   c     know. it 's .1us1. they're locked in. they're focused
                                                                                            proceedings in the within-entitled cause were
   9     and they --                                                                        transcribed b) me. Ml HELLE BARBA iTE. a Cenified
               SERGEANT GARRETr Oka)                                                        Shorthand Reporter and di sinterested person. and were
               MR CARTER -- you kno\\. the) drank the                                       thereafter transcribed imo typewriting.
         Kool-Aid and they won't -- it doesn't matter what we do
         We offer them ndes for them. but -- o --
               SERGEANT GARRErr. Well. I mean. we\·e had                                                Dated: .luh· 29. 2021
         neighborhood di sputes that Just. vou can't imagine --
  :f           MR CA RTER Yeah
               SERGEANT GA RR ED -- ho11 upset -- vou kno11.
  :E     the thing wnh a basketball hoop over -- over 111
  :9     Strawbem· there. I mean. God. vou kno11                                                                    £2_~JuLu .~
                                                                                                                   Micl:lk Barbante
               MR CARTER: Yeah                                                                                     CSR NO. 1260 1
               SERGEANT GAR RED You -- you would thmk that
         the) were --
               MR. CARTER Yeah.
              SERGEANT GARREH. -- go111g to put m a ne11
         sa n1tar)' facilll) on the street --


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     Certified Transcript of Video Recording of:
       Body-Worn Camera Footage -
  Misc_Advisement.mp4 (July 3, 2020)
              Transcribed: August 16, 2021

Case: Seaplane Adventures, LLC v. County of Marin
              Case No. 20-cv-06222-WHA

                Reporter: Michelle Barbante, CSR 12601
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S•aplan• Adv•ntur•s . LLC v . County of Ma rin                                                  Vid•o o! : Body - Worn Ca.mer• rootag• - Mi•c_Advi se.men t . mp4 (Ju l y 3 , 2020)
Ca s• No . 20 - cv-06222-WBA                                                                                                                   '.I'ranscribad : Augu st 16 , 2021




                                                               Page 1                                                                                           Page 3
                SEAPLANE ADV ENTURES. LLC, COUNTY OF MARJN                                                   MALE SP EAKE R I: Answering the sheriffs
                    Body-worn camera footage                                                          office. and City Co unc il ha no aut hority over us.
                     Misc Adv1 sement.mp4                                                             because we are regulated by the FAA.
                                                                                                             DEP UTY HEILMAN: Okay.
                                                                                                             MALE SP EAKER I: Okay. That's what I know.
                     Case o 20-c, -06222-WHA                                                t                DEPUTY HEILMA Oka) . ljust--lwasj ust
                        Jul) 3. 2020                                                                  told that we were co ming to tell you that --
                                                                                                             MAL E SPEAKER I: Okay.
                                                                                                             DEPUTY HEILMAN: -- ever) time you take off and
                                                                                                      land. that you will be cited for --
           IBA SCRIBED BY.
                                                                                                            MALE SPEAKER I: Oka) .
           MI CHELLE D BARBANTE. CSR NO . 12601
                                                                                                             DEPUTY HEILMAN: -- for ever)' incident that you
                                                                                                     do.
                                                                                                            MAL E SPEAKER I: Oka, .
                                                                                                            DEP UTY HEILMAN: And then just -- just like a
                                                                                                     speeding ticket. that you have your day in coun and yo u
                                                                                                     can bring it before th em and let them do it. It 's not
                                                                                          :o         someth ing that I would like to do personall) . It was
                                                                                                     ju l something that was handed down from our command
                                                                                                     staff --
                      CAL-PACIFIC REPORT! G                                                                 MALE SPEAKER I: Oh. yeah. I understand.
                   45 Mitchell Boulevard. Suite 12
                                                                                                            DEP UTY HEIL MA ': -- through the chain of
                   San Rafael. Cal1fom1a 94903                                                       command to come talk to you. so. that 's all.
                                                                                          _l                MALE SPEA KER I: The owner's right there.
                       (415 ) 578-2480
                   Suppon@CalPacilicRepo ning com                                                           DEPUTY HEILMAN : Uh-hu h.


                                                              Page 2                                                                                            Page 4
                            -oOo-                                                                          MALE SP EAK ER I Can you hold on for
                 MALE SPEAKER I: Yo u too 9 Hello.                                         :        fi ve minutes and talk to him. too"
                 DEP UTY HEILMAN : Yeah.                                                                   DEPUTY HEILM AN . Sure.
                 MAL E SPEA KER I: Hi .                                                                    MALI: PEA KER I I mean. you kno" . Aaron
                 DEP TY HEILMAN : Hi . So just to let you kno" .                                    because he doe the --
           Count) Counsel has hand -- handed down a directive                                              DEPUTY HEILMAN: No. I don't kno" him. but --
           th rough our sherifr office th at if vou keep continuing                                        MALE PEAK ER I. Oka)
           your business --                                                                                DEPUTY HEILMAN : I've -- I've heard ofh,s
                 MALE SPEAKER I: Yea h.                                                             name. so --
                 DEPUTY HEILMAN : -- that you wi ll be ci ted for                                          MALE SPEAKER I. Okay
           ever) time that vou take off with passengers on your                                            DEPUTY HEILMAN . I know hi s name's 111 the
           plan e.                                                                                  emails and whatnot
                   MALE SPEA KER I. Can yo u give me th e reason for                     ::.;              MALE SP EAKER I All right. He's the guy in
           it? What do the~ base it on. th eir authorir:, over us9                                  the red shin right over there
                   DEP UTY HEILMAN: Over the -- over the --                                                DEPUTY HEILMA . Oka) And what was your name
                   MALE SPEAKER I Wait. Come o, er here .                                           again9
                   DEPUTY HEILMAN: Yeah.                                                                   MALE SPEAK ER I I' m Jerome
   -;.                                                                                                     DEPUTY HEILMAN · Jerome. oka)
                   MALE SPEAKER I: Go ahead .
                   MALE SP EAKER 2: Perfect.                                                               MALE SPEAK ER I There he comes. Explam the
                   DEP UTY HEILMAN : So have you bee n given the                                    c1tauon. It's like a --
           emai ls and stu ff back and forth "                                                             DEP Y HEILMA            It's a ticket. It's like a
                   MALE SP EAK ER I: I've read them. and he's been                                  speeding ucket.
           answering -- it's not) ou. of cour e.                                                         MALE SPEA KER I Oka)
                   DEPUTY HEILMAN : No. I kn o,., . I totall) get it.                                    DEPUTY HEILMAN . It's a thousand dollar fine
           I tota ll) get it.                                                                            MALE SPEAKER I And - and what does it sai on


                                                                                                                                     1     ( Pages 1 to 4 )
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Ca•• No . 20-cv-06222-WHA                                                                                                                      Tr • n•c r.1.be d : Augu •t 1 6 , 2021



                                                                 Page 5                                                                                           Page 7
           the ucket'                                                                                 We're --
                 DEPUTY HEILMAN It's for a v1olauon of the                                                   DEPUTY HEILMAN : I --
           shelter-in-place order I guess or something As -- as                                              MR. SINGE R: -- Pan 135 carrier. so --
           you kno" it's --                                                                                  DEPUTY HEILMAN: And I've -- I' ve seen copies
                 MALE SPEAKER I· Oka) .                                                               of the emails exchanged between and -- and was it
                 DEP TY HEILMA            -- the Heal th and Safety Code                              Renee Giacomini and all that fro m the Count) Coun sel's
           I guess                                                                           7        office'
      E          MALE PEAKER I· Okay o --                                                    &               MR. SINGE R: Mm-Jun.
                                                                                             q               DEP UT Y HEILMAN: So we tried to come by
      9          DEPUTY HEILMAN . I don't have 11 \\~th me right
   :c      110\\ There's paperwork . We came yesterday and spoke to                                   vesterday and let yo u guys kno,, that -- that they're --
           the pilot from the --                                                                      they're directing u to enforce that Hea lth and Safety
                  MALE SPEAKER I Helicopter                                                           Code violation or vio lati on of the COV ID- 19 order. so
                  DEP UTY HEILMAN -- helicopter                                                       an) time you guys take off and --
                  MALE SPEAKER I Yeah                                                                        MR. INGE R: What -- what ord er0
                  DEPUTY HEILMAN · And talked to him about the                                               DEPUTY HEILMAN: The one that says you can't
           same exact thing.                                                                          operate your business. I don't know.
                 MALE SPEAKER I: Yeah                                                                        MR. SINGE R: There's -- th ere's --
                 DEPUTY HEILMAN : My supervisor came down here.                                              DEPUTY HEILMAN: Have you seen the emails that
           I came down here with another guy. and they were                                           have been go ing back and forth '
   =:o     understanding. I understand there's a lot of -- between                                           MR. SINGER: Well. there's no guidance
   '.:.1   you and whoever                                                                            what oever for aircraft --
   22            MALE SPEAKER I It's not personal It's not                                                   DEPUTY HEILMAN: Mm-hm. h-huh .
           personal.                                                                                         MR. SINGE R: -- because we're federally
                 DEPUTY HEILMAN No. no. I know It's fine                                              regu lated.
           That's wh) I'm not yelling at you . I'm _1ust like -- I'm                                         DEPUTY HEILMAN : I get it.


                                                                 Page 6                                                                                           Page 8
           just the messenger. so --                                                                           MR. SINGER: We -- we were always an essenti al
                  MAL E SPEAKER I: Yeah. So he' the gu) to talk                                        busine       We never shut down.
           to.                                                                                                 DEP UTY HEILMAN : Mm-l11n.
                  DEP UTY HEILMAN : And they're -- the/re aware.                                               MR. SINGE R: We're Pan 135 carriers. so we
           because they're -- they're monitoring -- I guess there's                                    have --
           some website vou can go on and see what planes take off                                             DEPUTY HEILMAN : Okay.
           and land.                                                                                           MR. SINGE R: -- federal --
                  MALE SPEAKER I: Oh. veah. absolute!) .                                                       DEP UTY HEILMAN: Oka) . I understand that.
      9           DEPUTY HEILMAN : And the) -- yo u kno" . the) 're                                            MR. SINGE R: -- authori~ to regul ate -- to
           awa re of your -- that you're -- yo u have stu ff booked .                                  opera te.
           so --                                                                                               DEP UTY HEILMAN : I -- I totally understand
                   M) boss j ust happened to sa,. "He). the plane                                      that. Like I told him. I am ju t the messenger. It 's
           landed." I'm like. "Okav." He's all. "Can you gob)                                          not -- has been for me to -- I've been directed to come
           and j ust advise them that what 's goi ng to happen °" I'm                                  do,.,11 and inform you. as per the email you guys have
           lik e. "Okay." so --                                                                        been exchanging back and forth. tliat if you do take off
   :6              MALE SPEAKER I: Yea h.                                                              with passengers on -- on your ni ght plans or whatever
                                                                                           ·,          you have for your tours and whatnot. th at each time you
                   DEPUTY HEILMAN : Hi .
   ·;.
                   MR SINGE R: Hi .                                                                    land. you wi ll be ci ted. lliat's all I've been told to
                   DEPUTY HEILMAN : I'm -- I'm Roben . Hi. I'm                                         tell you .
           with the sherifrs office. I tried to come by yesterda)                                              MR. SI GER: So as of now you're len in g me
           and talk to yo u guvs. As I was explaining to him that I                                    knO\\ tJiat 0
           guess , ou guys have been exchanging emails back and                                                DEPUTY HEILMAN : I an1 telling you nm, that if
           forth wi th Co unt~ ou nsel and all that kind of stu ff                                     you take off " ith passengers in vour plane and land
                                                                                           _(
           related to ceasing and nying and all that stu ff.                                           that you will be ci ted.
                   MR . SINGE R: Well. we're federal!) regu lated .                                            MR . SINGE R: And so --



                                                                                                                                      2 (P ages 5 to 8)
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Seaplane Adventures , LLC v . County of Marin                                                Vl.deo of : Body-Worn Camera Fo ot age - Misc_Advisement . mp4 (July 3 , 2020 )
Case No . 20-cv -06222-WH A                                                                                                                 Transcrib ed : August 16 , 2021




                                                               Page 9                                                                                   Page 11
                  DEPUTY HEILMAN : I was just driving by--                                        think that if -- if -- if it's found out you did nothing
                  MR. SINGER: -- what --                                                          wrong. or if you had -- we had to cancel fli ghts because
      3           DEPUTY HE ILMAN : I was just dri ving by on a                          3        of what they tell you. you know. "Hey. I missed out on
            parking complai nt. My other partner's the one who's                                  all these different flights. I should be compensated."
            more abrupt -- more abreast of this. I was j ust told                                        MR. SINGE R: ·n1is is one of the biggest
      E     to, hey. come by and tell you guys. so --                                    £        weekends of th e year.
      7           MR. SINGER : And -- and what is -- what is --                                           DEPUTY HE ILMAN : Oh. I totall y get that.
      E     what kind o f citation are you --                                                             MR. SINGER : And we're -- you know --
      9             DEPUTY HEILMA N: It's j ust like a speeding                          9                DEP UTY HE ILMAN : Uh-huh .
            ti cket. You have your day in court which vou can go                       ~c                 MR . SINGER: -- you're safe in your job. You
            and talk to the j udge. explain your side of things with                              get a paycheck. We're barely gen in g by here.
            what you j ust told me. because you're more up that than                                      DEPUTY HE ILMAN : I totall y hear you. I totall y
   J..3     I am.                                                                                 hear you. So. like I said I mean. I'm just th e
                    MR. SINGER: Aren't -- aren't interi or                                        messenger. I -- I tota lly understand. I'm like --
            restaurants allowed right now? Aren't tour bus                                                MR. SINGER: I appreciate it.
            businesses all owed right now0                                                                DEPUTY HEILMAN : I'm tryi ng to stay neutral .
                    DEPUTY HEILMAN : I understand that. I'm just                                  I -- I don 't want to argue. I -- I'm not goin g to
   :._ 8    telling vou. I --                                                                     arrest you . It's going to be a ticket. and that's what
                   MR. SINGER: You're -- you're -- you're                                         happens from there. so --
            acknowledging that they are allowed'                                                          MR. SINGER Okay.
                   DEP UTY HEILMAN : I may -- I'm acknowledging                                           DEP UTY HEILMAN All right"
            thaL SO --                                                                                    MR. SINGER: All right. Well --
  :3               MR . SINGE R: Okav. So wh)' are you guys pi cki ng                                     DEPUTY HELLMAN: An d rn v name's Robert. I
            on us0                                                                                didn't catch your first name.
                   DEPUTY HEILMAN : I am not. I'm j ust told what                                         MR SINGER: Aaron .


                                                            Page 10                                                                                     Page 12
           we were told that was handed down -- that was passed                                         DEPUTY HEILMAN . Aaron. What's your last name'
           over from County Cou nsel through our chain of command                                      MR. SINGER: Singer.
           from our captain 10 Sergean t Schneider. who I'm sure you                                    DEPUTY HEILMAN · Okay I thi nk I've seen your
           guys have been exchang ing ema il s with back and forth.                              name copied in the emails.
           and I was told to come tell you guys that if you do.                                        MR. SING ER Yes.
           that you'll be each -- each time you do thi s. yo u'll be                                    DEPUTY HEILMA N: Okay. So vou're -- you're
           cit ed for the Health and Safetv code violat ion.                                     aware of the emails and stuff like that'
     8            MALE SPEAKER I. Is there a j udgment against us                                      MR. SING ER Yes.
     9     for that 0 Is there any kind of paperwork -- not vo u but                                   DEPUTY HEILMAN: Okav. All right. Well.
           the sherifrs office has 10 prove that we're vi olating                                hope fully we can work things out. I totally get where
           it '                                                                                  you're coming from l totall) und erstand . And I'm --
                  DEP UTY HEILIV!AN : I don't have that on me. All                               I'm 1h1nk111g to myself. "Well. this is kind of silly."
           I kno" is as part of the COV ID. what's goi ng on. So.                                but I under tand that. that what is handed down from
           like I said. you wo uld be given a ticket each time it                                powers that be higher than me that said. "Hey. thev're
           happens. you' ll be given a coun date,., here you can show                            in ,·1olat1on."
  :E       up in person. and if there's an) kind of sa ncti on or you                 :f                   MR. SINGER No. I understand.
           can say. "Hey. you're wast in g my time beca use. you know.                                     DEPUTY HEILMAN I go. "Okay."
           we feel like that we're operating totally within our --                    :f                   MR SINGER: I'm not mad at you.
  ::.9     within our -- what we're allowed. I thin k we shoul d be                   :9                   DEPUTY HEILMAN Yeah. no. I get it. It's
           able to seek some kind of retribution and. yo u kn ow.                     :c         like --
  _1       monetaf\ val ue."                                                                           MR SINGER. I mean -- I mean. I'm mad that
                 MR. SINGER : Okay.                                                              you're here. but I'm not mad at vou
                 DEPUTY HEILMAN : So --                                                                DEPUTY HEILMAN : 1-- I know. I get it. So I
                 MR. SINGER: I appreciate vou saying that.                                       was talk111g to the pilot of the helicopter vesterday.
                 DEPUTY HEILMAN : Yea h. Yeah. I mean. I would                                   and he goes. "What's the difference ifwe have a famil y"


                                                                                                                             3     ( Pages 9 to 12 )
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Se ap lane Adventure• , LLC v . County of M•:r 1-n                                                    V1-dao of : Body - Worn Camera Footage     - M1.• c Adv1. •ement . mp4 (July 3 , 2020)
Ca •e No . 20-cv-06222-WHA                                                                                                                               - Tran•cr i bed : Augu st 16 , 2021




                                                               Pa ge 13                                                                                               Page 15
             -- he goes -- he goes. "I kind of get it if there's                                           State of California )
             multiple people from different families that show up                                                               )
             here to go on a trip. but these people are families that                                         ounty of Sonoma              )
             are coming in the same Uber car. same everything. they
     5       live together. and they're going on my heli copter. "
     6              MR. I GER: Well. it doe n't maner that -- I
                                                                                                  E                    CERTIFICATE OF REPORTER
     7       mean. a tour bus can drive around with people on it now.                             7           I hereby cenify that the foregoing recorded                                 1:
     8              DEPUTY HEILMA N: I haven't een thaL but okay.
                                                                                                           proceedings in the within-entitled cause were
                    MR. SINGER: I mean. you can -- you can go                                     9        transcribed by me. MICHELLE BARBA 1TE. a Certifi ed
             into -- inside a restaurant.                                                                  Shortl1and Reporter and disinterested person. and were
                    DEP TY HEILMAN : Uh-huh.                                                               thereafter transcribed into typewriting.
                    MR. SINGER: I don't understand why we're
   :3        getting picked on except for there's complainers over                            :. 3
   14        here that have a lot of money.                                                   14                              Dated: August 16. 2021
                    DEPUTY HEILMAN : Okay.
                                                                                              ~   E
                    MR. SINGER: And they're. vou kno,,, . well --
                    DEPUTY HEILM AN : Uh-huh. I know. I just
             thought I'd come tell you.
                                                                                              :o
                    MR. SINGER: All ri ght.                                                                                         ~                                      - -
                    DEPUTY HEILMAN : So. you know. we'll -- we'll
                                                                                                                                        CSR NO. 1260 I
             work it out. so --
                    MR. SINGER: Okay.
                    DEPUTY HEILMA            Like I said. you know. worst
             to worst. you'll have your day in coun. You can go and                           :. 4
             say. "Hey. look. you guys did X. Y and Z. you made me
                                                                                                                                                                                          I'

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              Page 14
                                        :
      1        lose business. I think I should be compensated."
      2              MR. SINGER: Mm-hm.
      3              DEPUTY HEILMA            So -- okay?
      4              MR. SI GER: I cettainl) agree with that.
      5              DEPUTY HEILMAN: All right. Take care.
      6              MR. SINGER: All right. sir. Thank you.
      7              (End of recordings)
      8                         -oOo-
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